                                          Case 4:22-cv-03201-YGR Document 75 Filed 06/17/22 Page 1 of 1




                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     BILLJCO, LLC,                                     Case No. 22-cv-03201-VKD
                                                        Plaintiff,                         ORDER REASSIGNING CASE
                                   5
                                                 v.
                                   6

                                   7     APPLE, INC.,
                                                        Defendant.
                                   8

                                   9

                                  10          IT IS ORDERED that this case has been reassigned using a proportionate, random and

                                  11   blind system pursuant to General Order No. 44 to the Honorable Beth Labson Freeman in the

                                  12   SAN JOSE division for all further proceedings. Counsel is instructed that all future filings shall
Northern District of California
 United States District Court




                                  13   bear the initials BLF immediately after the case number.

                                  14          All hearing and trial dates presently scheduled are vacated. However, existing briefing

                                  15   schedules for motions remain unchanged. Motions must be renoticed for hearing before the judge

                                  16   to whom the case has been reassigned, but the renoticing of the hearing does not affect the prior

                                  17   briefing schedule. Other deadlines such as those for ADR compliance and discovery cutoff also

                                  18   remain unchanged.

                                  19   Dated: June 17, 2022

                                  20

                                  21
                                                                                        Mark B. Busby
                                  22                                                    Clerk, United States District Court
                                  23

                                  24

                                  25   A true and correct copy of this order has been served by mail upon any pro se parties.
                                  26
                                  27

                                  28
